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                     UNITED STATES COURT OF APPEALS                       FILED
                             FOR THE NINTH CIRCUIT                        OCT 31 2017
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
CHRISTOPHER J. MCINTYRE,                         No.    15-35234

                 Plaintiff-Appellant,            D.C. No. 3:13-cv-00149-RRB
                                                 District of Alaska,
 v.                                              Anchorage

BP EXPLORATION AND PRODUCTION,                   ORDER
INC. and BP AMERICA PRODUCTION
COMPANY,

                 Defendants-Appellees.

Before: KOZINSKI and FRIEDLAND, Circuit Judges, and BENNETT, * District
Judge.

      The panel has unanimously voted to deny the petition for rehearing. Judge

Kozinski and Judge Friedland have voted to deny the petition for rehearing en

banc, and Judge Bennett so recommends. The full court has been advised of the

petition for rehearing en banc, and no judge has requested a vote on whether to

rehear the matter en banc. Fed. R. App. P. 35.

      The petitions for rehearing and rehearing en banc are DENIED.




      *
            The Honorable Mark W. Bennett, United States District Judge for the
Northern District of Iowa, sitting by designation.


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